Case 3:20-cv-13356-RHC-CI ECF No. 1, PagelD.1 Filed 12/23/20 Page 1 of 52

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

NORTHWOOD, INC.
a Michigan corporation, Case No.

Plaintiff, Hon.

CLINICAL WOUND SOLUTIONS, LLC,
An Illinois limited liability company,

Defendant.

 

VERIFIED COMPLAINT
Plaintiff, Northwood, Inc. (“Northwood”), by and through its attorney Brandon K. Fasse
of FASSE LAW, PLLC, for its complaint against Clinical Wound Solutions, LLC (“CWS”),
states as follows:
NATURE OF THE ACTION

1. Northwood, a licensed third-party administrator of health insurance claims for health
insurance plans, brings this action seeking compensation for damages caused by
Defendant’s breach of contract and injunctive relief.

2. Defendant, a provider of medical supplies, has and is presently engaged in
invoicing/billing activities that are in breach of a provision of an agreement between the
parties which prohibits the seeking of reimbursement for medical supplies from health
plan members.

3. Northwood discovered Defendants improper conduct when multiple customers called to

report receipt of invoices from CWS.
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Northwood brings this action for compensation and injunctive relief and to hold

Defendant responsible for its improper conduct.

PARTIES

Plaintiff Northwood, Inc. is a corporation organized under the laws of the State of
Michigan, with its principal place of business at 25790 Commerce Drive, Madison
Heights, MI 48071.
Defendant Clinical Wound Solutions, LLC is a limited liability company organized under
the laws of the State of Illinois, with its principal place of business at 1084 Industrial
Drive, Unit 5, Bensenville, II 60106.

JURISDICTION AND VENUE
The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C §
1332(a)(1).
The amount of damages at issue exceeds $75,000, exclusive of interest and costs.
The court has personal jurisdiction over the Defendant because they transact or have
transacted business in the Eastern District of Michigan by, for example, contracting with
and submitting health insurance claim forms to Plaintiff Northwood within the Eastern
District of Michigan.
In addition, the Court has personal jurisdiction over the Defendant because Defendant
entered into a contract with Plaintiff Northwood which necessitated the flow of
information and documents into the Eastern District of Michigan.
Additionally, the Court has personal jurisdiction over the Defendant because the

agreement which makes up the basis of this claim (Attached as Exhibit A) contains a
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valid governing law provision which states that the laws of the State of Michigan shall
apply to any controversy thereunder.
Venue is proper in the Easter District of Michigan pursuant to 28 U.S.C § 1391(a) in that
a substantial part of the events or omissions giving rise to the claim occurred in this
district, and Defendant is subject to personal jurisdiction in this district.

FACTS
Northwood is a third-party administrator of health insurance claims for medical
equipment and supplies.
Northwood contracts with health insurance plan clients to facilitate the provision of
medical equipment and supplies to members of client health insurance plans.
Northwood contracts with numerous providers of medical supplies in order to make
products available for and facilitate the provision of medical supplies to health plan end
user members. These providers constitute the “Northwood Network” of providers.
CWS is a provider of medical supplies to end users that specializes in wound care
products and supplies.
On July 30, 2015, Northwood entered into a Participating Supplier Agreement
(“Agreement”) with CWS for the provision of itemized products and services to health
plan client members.
The Agreement prescribes the manner and course of conduct by which CWS is to provide
products and services to health plan members or “Covered Persons” as defined in the
Agreement.
The Fee Schedule to the Agreement itemizes the specific products and services and

associated reimbursement rates for products that CWS agreed to provide to Covered
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Persons. These products and services are defined in the Agreement as “Covered
Services”.

The Agreement and Provider Manual (incorporated into the Agreement by reference) set
forth in detail the process by which a participating supplier such as CWS is to furnish
services, collect essential documentation from patients evidencing said services, and then
submit to Northwood for reimbursement at the specified reimbursement rate.

The agreement at § 4.6 provides for Northwood’s implementation of routine audit
procedures to ensure that Covered Services are being rendered to Covered Persons in a
manner which is not violative of contractual and regulatory standards for such services.
After CWS failed a number of appropriately conducted internal audits for failure to
provide Northwood with adequate claim information, Northwood properly terminated its
Agreement with CWS effective as of November 7, 2018.

Following termination of the Agreement, CWS filed a lawsuit in DuPage County Circuit
Court (Illinois) alleging that Northwood improperly retained reimbursement owed to
CWS in violation of the Agreement. That lawsuit was removed to the U.S. District Court
for the Northern District of Illinois where it remains pending.

The Agreement at § 5.5 states in relevant part that “Participating Supplier shall look
only to Northwood for Covered Services rendered to a Covered Person.
Participating Supplier agrees that in no event shall it bill, charge collect or attempt
to collect a deposit from, seek compensation or remuneration from, surcharge or
have any recourse against a Covered Person by Participating Supplier”. The Section
“shall survive termination of this Agreement, regardless of the cause of termination of

this Agreement, and shall be construed to be for the benefit of Covered Persons.
Case 3:20-cv-13356-RHC-CI ECF No. 1, PagelD.5 Filed 12/23/20 Page 5 of 52

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Beginning in June 2020, Northwood customer service personnel began receiving
complaints from Covered Persons that they had received invoices from CWS for amounts
CWS alleges are owed to it by Covered Persons,

Security Health Plan, a client health plan of Northwood, first reported to Northwood on
June 2, 2020 that a Covered Person was being billed directly by CWS for Covered
Services.

Beginning in mid-September of 2020, Northwood began receiving a significant amount
of complaints regarding invoices received from CWS requesting remuneration for
services allegedly rendered by CWS. The fielding of said complaints required significant
time and resources on behalf of Northwood.

Northwood began tracking reports of the improper invoicing and requesting proof from
Covered Persons in the form of the transmitted invoices. The supporting documentation
collected and assembled to date, attached hereto as Exhibit B.

Upon information and belief, a number of the invoices sent to Covered Persons were for
sums previously paid to CWS by Northwood (double billing).

Upon information and belief, a number of the invoices were sent to Covered Persons who
were deceased.

On October 6, 2020, Northwood sent CWS a cease and desist letter via certified mail
detailing the alleged improper billing conduct and requesting assurance that the invoicing
would cease immediately. Northwood’s letter provided for a response window of ten (10)
days. Northwood received no response from CWS.

COUNT I- BREACH OF CONTRACT
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32. Northwood hereby repeats and realleges the allegations in paragraphs 1 to 31 above as if
set forth fully herein.

33. As set forth above, CWS violated section 5.5 of the Agreement.

34, As a result of this breach, Northwood suffered reputational harm and economic damages
of not less than $75,000.

PRAYER FOR RELIEF
WHEREFORE, Northwood demands judgment against Defendant as follows:

a. An order entering judgment in favor of Northwood against Defendant;

b. An order awarding Northwood damages in an amount to be determined, but in no event
less than $75,000;

c. An order awarding Northwood attorney fees and other costs prescribed by the Agreement
and as determined appropriate by the Court;

d. Anorder enjoining Defendant from engaging in the billing activities as described herein

now and forever.

Respectfully submitted,

By: ES hb <2).

FASSE LAW, PLLC

Brandon K. Fasse (P80370)

25790 Commerce Drive, Suite 100
Madison Heights, MI 48071

(586) 354-7243
brandon@fasselaw.com

Dated: December 23, 2020, Attorney for Plaintiff
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VERIFICATION PAGE

I declare the facts stated above are true to the best of my personal knowledge, information, and

belief:

Kenneth G. Fasse, President, Northwood, Inc.
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EXHIBIT A
Northwood

NORTHWOOD, INC.
PARTICIPATING SUPPLIER AGREEMENT

 

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NORTHWOOD, INC.
PARTICIPATING SUPPLIER AGREEMENT

THIS AGREEMENT is made this 27“day of Sulu, 20_{S by and between
Clinica \dnond Soblyons, LUC

Northwood, Inc, a Michigan business corporation ("Northwood"), and
(“Participating Supplier’),

RECITALS

A. Northwood is a business corporation, which among other things, is licensed as a third
party administrator in Michigan,

B, Northwood proposes to offer a Managed Home Care Products and Services Program (a8
defined herein) to Plan Sponsors other organizations (the "Program’);

c Northwood desires to enter into agreements with providers and suppliers of Home Care
Products and Services to provide the equipment, supplies, and services necessary to fulfill Northwood’s
objectives,

D. Participating Supplier is a home care provider or supplier which
Home Care Products and Services to Plan Sponsor and other organizations contra
for such products and services.

NOW, THERBFORE, in consideration of the mutual covenants and promises set forth below,
Northwood and Participating Supplier agree as follows:

I, DEFINITIONS
For the purposes of this agreement, the following terms shall have the meanings set forth below:

11 “Covered Person” means any Member, Employee or Dependent or any other person
covered by and entitled to benefits under any Group Service Agreement.

ices" means all of the Home Care Products and Services which Covered
listed on Exhibit A

 

desires to provide
cting with Northwood

12 = "Covered Services"
Persons are entitled to receive under the Group Service Agreement and which are

attached hereto and mcorporated herein.
*Dependent’ means any individual considered by the Plan Sponsor to be a dependent of

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a Member.
14 "Employee" means any individual considered by the Employer to be an employee.

15 "Employer" means any employer group that has entered into a Group Service Agreement

with Northwood for the Program, .

16 "Home Care Products and Services" means those products and services designed to enable
individuals to be treated in their homes or provider's facility, including, but not limited to, home health
services, provision of durable medical equipment and supplies, prosthetic and orthotic equipment and
suppLeg, assisted technologies, and home infusion therapy equipment and supplies.

LZ "Member" means an individual covered by or enrolled in a Plan,
"18 "Non-Covered Services means all health care services which are not Covered
Services under the Northwood, Inc. Group Service Agreement,

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1.9 "Participating Supplier" shall mean a Home Care Products and Services provider or
supplier that has entered into a Participating Supplier Agreement to provide Home Care Products and

Services to Covered Persons.

1.10 "Participating Supplier Agreement” means the written agreement between Northwood

and a Participating Supplier described in Section 1.9.
emiber’s Summary Plan

131 = "Plan" means a Member's health care benefits as set forth in the M
Description, Certificate of Coverage or other applicable coverage document.

1.12 “Plan Sponsor” means an employer, auto insurance carrier, workery compensation
carrier, insurey, health plan (public or private), third party administrator, labor union, organization or
other person or entity which has contracted with Northwood to offer home care products and services to
Covered Persons.and has agreed to be responsible for funding benefit payments for Covered Services

provided to Members under the terms of a Plan.
113 Program” means the Managed Home Care Products and Services program offered by
Northwood.
1.14 “Group Service Apreement? means the written a between Northwood and a
Plan Sponsor, pursuant to which Northwood has agreed to arrange for delivery of Covered Services to
Member's under a Plan and may have agreed to process claims and provide utilization review, quality
monitoring and care management services.

Yl, OBLIGATIONS OF PARTICIPATING SUPPLIER

2.1 Provision of Covered Services, Participating Supplier agrees to provide all Covered
Services to Covered Persons who choose to receive such services from Participating Supplier or who are
referred or assigned to Participating Supplier by Northwood, and agrees to provide all such Covered
Services in accordance with this ent and the Group Service Agreement. Participating Supplier
agrees that all such Covered Services shall be rendered in accordance with the generally accepted

standards of practice for Home Care Products and Services.

22 Policies and Procedures, Participating SuppHer shall’ adhere to and be bound by all
Northwood's policies, procedures, guidelines, and mamual provisions, as set forth in Northwood's current
Participating Provider Manual and as they may exist from time to time, including, but not Hmited to,
instructions concerning verification of eligibility, coordination of benefits, transfer policies, quality
assurance and utilization management, peer review, and Northwood's grievance policy and procedures,
provided that such policies and procedures are not inconsistent with this Agreement. Northwood agrees
to apply its policies consistently and to use its good faith efforts to notify Participating Supplier of any
material changes in Northwood’s policies which could have a material effect on Participating Supplier.

23 Maintenance of Licenses and Certifications. Participating Supplier ahalJ maintain in good
standing all licenses and certifications required by federal and state law and regulations. Participating
Supplier shall notify Northwood immediately upon loss or suspension of Medicare or Medicaid
certification or termination from the Medicare or Medicaid programs,

2.4 Nondiscrimination. Participating Supplier shall not discriminate against any Covered
Person based upon the frequency or extent of Covered Services needed by the Covered Person,
Particlpating Supplier shal] not unlawfully discriminate in the acceptance or treatment of Covered
Persons because of their religion, race, color, national origin, age, sex, height, weight, marital status, or

«physical handicap.

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2.5 Site Evaluations.

2.5.1 Government Agency Access, Participating Supplier shall permit on-site
evaluations of Participating Supplier's facilities, offices and records, periodically, as required by
the texms of this agreement, current State and-federal Jaw, regulations, and in accordance with
the provisions of any contracts which may exist between Northwood and Plan Sponsors,
inchiding any and all service agreements in connection therewith. Participating Supplier shall
permit representatives of Northwood and Plan Sponsors, and of any duly authorized state or
federal regulatory agency, to inspect, upon reasonable notice (or without notice in the case of a
regulatory agency so authorized by law), the premises and equipment used by them in their
provision of Covered Services hereunder, and their business and records relating to this
Agreement, and to study all phases of the provision of Covered Services hereunder, Participating
Supplier further agrees to comply with those agencies' recommendations, if any; provided,
however, that Participating Supplier may appeal the agency's decision in accordance with
applicable laws, rules, and regulations and Northwood shall cooperate with Participating
Supplier in any appeal process provided said appeal is not frivolous. During the appeal process,
Participating Supplier shall make a good faith effort to comply with any part of the agency's
recommendation not subject to the appeal. Northwood shall give Participating Supplier
reasonable notice of its intent to conduct a site visit and will give Participating Supplier
reasonable notice of any agency's plans to conduct a site visit if Northwood receives such notice.

 

252 Northwood's Access. Participating Supplier will, from time to time and upon
reasonable notice from Northwood, and subject to applicable laws and rules governing
confidentiality of Covered Persons care and medical records, obtain permission and make
arrangements for Northwood personnel to: (i) inspect Participating Supplier's facilities, offices,
and equipment during normal business hours; (ii) inspect and review during normal business
hours the medical records of Covered Persans; (iii) review all home care services provided to
Covered Persons by Participating Supplier; and (iv) obtain copies of Covered Persons’ medical
records for quality management and other administrative purposes with reasonable notice
consistent with quality assurance and utilization management and confidentiality policies of
Northwood. Northwood will attempt to limit such reviews and inspections to a random or

selected sampling basis where possible.

26 Liability Insurance. Participating SuppKer shall maintain liability insurance through a
commercial insurance carrier or self-funded program in amounts equivalent to those typically maintained
by similar businesses, including comprehensive general liability insurance in an amount satisfactory to -

_ Northwood. Participating Supplier shall provide Northwood with proof of insurance required by this
Section upon request. Participating Supplier agrees to notify Northwood immediately if any surance
policy covering services provided under this Agreement is materially modified or terminated.
Northwood makes no representation that the limits of liability specified in this Paragraph are adequate to
protect Participating Supplier against liability arising from provisian of services by the Participating
Supplier pursuant to this Agreement. In the event that Participating Supplier believes that any such
insurance coverage called for under this Agreement is insufficient, Participating Supplier shall provide, at
its own expense, such additional insurance as Participating Supplier deems adequate.

2.7 Employee Self- Determination. Participating Supplier acknowledges that Covered Persons
have the right under state and federal law to make decisions regarding medical care, including the right
to accept or refuse life-sustaining treatment, Participating Supplier agrees to comply with the Patient Self-
Determination provisions of the Omnibus Budget Reconciliation Act of 1990, as amended and applicable
state law to the extent these laws apply to services provided by Participating Supplier pursuant to this

Agreement, .
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2.8 Access to Covered Services. Participating Supplier shall organize its provision of Covered
Services to Covered Persons in a manner designed to maximize the accessibility of Covered Services to

Covered Persons under the Program, Participating Supplier shall provide standard business hours and
reasonable provisions for Home Care Products and Services. Participating Supplier shall take steps to

assure that Covered Persons have access to Covered Services on the same basis as other patients of
Participating Supplier.

29 Conformity to Law. Participating Supplier shall provide services in a manner which
conforms to all applicable federal, state and local laws, rules and regulations, including laws related to
lobbying and the influence of federal transactions, and all applicable professional ethical standards; and,
to the extent applicable, Participating Supplier will commit no acts of commission or omission violating or
causing to be violated any provision of the Michigan Third Party Administrator Act, same being MCLA
50,901 seq., by such Supplier ox Northwood.

2.10 Professional Practice. Participating Supplier shall be solely responsible for rendering ail
equipment, supplies, and services to Covered Persans pursuant to this Agreement in accordance with
accepted industry standards, Participating Supplier acknowledges and accepts that Northwood shall
have no obligation to, or liability for, Participating Supplier's judgement in providing or failing to provide
Home Care Products or Services to Covered Persons in the performance of this Agreement.

211 Group Purchase Agreement. Participating Supplier acknowledges that it may purchase
durable medical equipment, medical supplies and surgical supplies, inchding replacement, provided to
Covered Person's under the terms of this Agreement through Northwood's group purchasing
arrangement if such equipment and supplies are available.

I. OBLIGATIONS OF NORTHWOOD

31 Provision of Services. Northwood shall negotiate contracts with Plan Sponsors and other
groups of individuals to arrange for the provision af Covered Services, Northwood cannot guarantee that

it will obtain any minimum number of contracts or Covered Persons or that any minknum rumber of
Covered Persons will select or be assigned to Participating Supplier. Northwood shall use its best efforts
to honor the Covered Person's right to choose the Provider of their choice within the Participating
Supplier Network,
3.2 Administrative Services. Northwood, or its designee, shall provide administrative,
accounting, and marketing functions necessary for the development and operation of Northwoed,
including, providing Participating Supplier with reports necessary for the operation of a cost
containment and utilization programs.
IV. MUTUAL OBLIGATIONS OF NORTHWOOD AND PARTICIPATING SUPPLIER
41 Appointment of Coordinators. Northwood and Participating Supplier agree that the

effective fanctioning of Northwood is dependent upon cost containment and utilization review,
consistent with customary business practices, Participating Supplier shall appoint an individual
acceptable to Northwood to work in coordination with Northwoods President or his/her designee for the
purpose of fulfilling the requirements of this Agreement. The appointed coordinator will respond to
inquiries by Covered Persons about Northwood's procedures and will act as the day-to-day Haison
between Participating Supplier and Northwood regarding Covered Persons’ eligibility for services,

4.2 Services to Non-Covered Persons, Northwood and Participating Supplier agree that
Participating. Supplier shall be free t provide services to customers other than Covered Persons, and to

- contract with any other payment and delivery program.

 

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43 Grievances. Northwood shall notify Participating Supplier concerning all Covered
Persons' complaints involving it and Participating Supplier shall notify Narthwood of any complaint
received from Covered Persons. Participating Supplier shal! use good faith efforts to investigate such —
complaints, and in consultation with Northwood, shall use its best efforts to resolve them ina fai and
equitable manner. To the extent applicable, Participating SuppHer shall participate in and cooperate with
Northwood's grievance policies and procedures and comply with all final determinations provided in
accordance with such policies and determinations. A copy of the Northwood Grievance Procedures is
included in the Provider Manual, a copy of which has been provided to Participating Supplier. Upon
request, Participating Supplier will make svailable a copy of Northwood’s Grievance Procedure contained

in the Northwood Provider Manual.

4A Marketing. Participating Supplier hereby consents to the use of its name, address and
description of its business in Northwood's marketing, advertising, or media materials developed and
disseminated by Northwood to Covered Persons, Plan Sponsors, other groups, health care providers, and
the general public. Northwood shall make good faith efforts to notify Participating Supplier and seek
input from Participating Supplier regarding Northwood's marketing pursuant to this Agreement. The
assistance and volvement of Participating Supplier in the marketing of Northwood is mutually
beneficial to both Participating Supplier and Northwood, however, Participating Supplier shall undertake
no marketing, advertising, sales or enrollment activities pertaining to Northwood nor use any written /
materia] in any such activity without Northwood’s prior written consent. Participating Supplier
recognizes that this Agreement may be terminated before its term expires and Participating Supplier
agrees that Northwood shall not be liable to Participating Supplier for Northwood's continued use of lists
inchuding the Participating Supplier's name, if such lists were m tion before Northwood received
notice of Participating Supplier's termination. Participating Supplier shall hold Northwood harmless for
Northwood's reliance upon inaccurate or incomplete information provided by Participating Supplier.

4.5 Records,

4.5.1 Participating Supplier Records. Participating Supplier shall maintain adequate
records in accordance with state and federal law and regulations for Covered Persons which

shall, subject to applicable privacy and confidentiality requirements, be made available to any
physician attending the Covered Person, with the Covered Person's written authorization.
Participating Supplier shall make fully available its records pertaining to Covered Persons to
Northwood, when reasonably requested for the purpose of quality assurance and utilization
management, grievances, benefit determinations, credentialing, or other legitimate functions
required by Northwood, Upon termination of this Agreement, or upon Northwood's request and
the Covered Person's consent, Participating Supplier shall transfer a copy of all or any portion of
Covered Persons! records to Northwood or a provider or entity affiliated with Northwood or
designated by Northwood, as permitted by law. The costs of providing copies of records directly
to a Covered Person for personal use not related to the delivery of Covered Services may be billed
to the Covered Person at a reasonable and customary rate of no greater than $,05 per page.
Participating Supplier may not charge Northwood or any Covered Person for any costs related to

providing copies of records except as otherwise permitted in this Agreement.

4.5.2 Northwood Centralized Membership Records, Northwood, or its designee, shall
maintain centralized membership records identifying all Covered Persons by name, schedule of
benefits, and such other information as Northwood shall reasonably determine is necessary or

that ig made available to Northwood by a Plan Sponsor, other groups, or programs under the
Group Service Agreement for carrying out the purposes of this Agreement. _
' 4.5.3 Joint Records. Participating Supplier and Northwood shail cooperate with each
other to maintain such statistical records relating to Covered Services provided under this
Agreement as required by state laws, regulations, and guidelines,
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4.6 Financial Data and Audits. Participating Supplier shall maintain accounting procedures
consistent with standard accounting practices. Participating Supplier will furnish Northwood with such
financial and operating reports concerning the provision of Covered Services by Participating Supplier to
Covered Persons as Northwood shall reasonably require and shall allow Northwood to make reasonable
inspections of the records used to prepare such yeports. Such reparts typically include information and
documentation necessary to determine scope and extent of services provided to Covered Persons and
records that would verify patient encounters, medical necessity, proof of transactions and
remittance/ payment. Northwood agrees to keep confidential any financial information it obtains from
Participating Supplier unless disclosure is required by Jaw or has been agreed to by Participating
Supplier. Participating Supplier and Northwood agree to submit to post-payment audits canducted by
the appropriate state and federal agencies or by Northwood in conjunction with the services provided
under this Agreement. Audits conducted by Northwood shall be conducted within the time periods
specified in this Agreement. Neither Northwood nor Participating Suppter shall have the right to assert
claims against each other based on such audits, if such audits pertain to claims more than 180 days after
the date of service, unless fraud or intentional misnepresentation is established. ;

47 Quality Assurance and Utilization Management.

4.7.1 Participating Supplier Obligations. Participating Supplier shall provide Covered
Services in a manner consistent with generally accepted industry standards and further agrees to
cooperate with Northwood's policies and procedures for quality assurance and utilization
management, Participating Supplier agrees to perform quality assarance and utilization
management review in accordance with the requirements of state and federal law and to
participate in any quality assurance or utilization management programs established by
Northwood. Participating Supplier recognizes Northwood's right to assure that all quality
assurance, utilization management, benefit determination and related administrative services
inherent and necessary in a managed health care system comply with applicable state and federal
regulatory requirements and applicable legislation. Participating Supplier acknowledges that it
may be subject to retroactive denial of payment for Participating Supplier services for which
authorization was not obtained and for which authorization was required or where Participating
Supplier is informed by Northwood that continued payment is not guaranteed or that
Narthwood intends to suspend continued authorization based upon qualify assurance or
utilization management activities conducted by Northwood, Participating Supplier shall comply

with all final payment determinations provided by Northwood.

4.7.2 Northwood Obligations, Northwood agrees to perform quality assurance and |
utilization management services required by law in connection with this Agreement. Northwood
acknowledges that the information that it receives as a result of participating in Participating
Supplier's quality assurance and utilization management activities is made confidential under
applicable Jaw. Such information is furnished to Northwood solely to assist Northwood in
conducting its own professional practice review. Northwood and its employees will maintain the
confidentiality of all such information received from Participating Supplier, will use such

‘information only for quality aggurance and utilization management purposes, and will resist any
attempts by third parties to obtain such information except where disclosure is required by law,
this Agreement, or Northwoods Service Agreement. ,

V, PAYMENT FOR SERVICES

51 Rate of Payment. Upon execution of this Agreement, Northwood, or its nominee, is
designated as payee by Participating Supplier. Northwood shall remit an amount to Participating
Supplier as set forth in the fee schedule attached hereto as Exhibit B (the "Fee For Service Rate’) less any
applicable co-pay and/or deductible. Participating Supplier agrees to accept reimbursement as set forth
herein as payment in full for Covered Services.

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52 Payment Terms. Northwood through the Group Service Agreement shall require
yeimbursement to Northwood within thirty (30) days of receipt by the appropriate Group Service
Agreement Claims Administrator of properly submitted claims for Covered Services provided to Covered
Persans. Upan recelpt of payment by Northwood, Northwood shall sabmit proper payment to the

Participating Supplier within fifteen (15) days thereof.

53 Non-Covered Services. In the event a Covered Person requests services which are Non-
Covered Services, such Non-Covered Services may be provided by Participating Supplier at the Covered
Pergon's sole cost and expense, provided that Participating Supplier receives a signed release prior fo the
provision of services from the Covered Person that it will assume responsibility for the cost of the service.
Participating Supplier agrees not to charge amounts in excess of its normal and customary charge for such
services and shall be under no obligation to furnish services that are not normally and customarily
provided by it to other patients of the Participating Supplier. In the event Participating Supplier does not
obtain a signed release, Participating Supplier shall hold Northwood and Covered Person harmless,
Participating Supplier agrees to cooperate with Northwood in resolving any Covered Person grievances

related to the provision of services.

54  Claimsand Submission. Participating Supplier hall provide Northwood with prompt
itemized statements of Covered Services provided to Covered Persons, These statements must comply
with billing format HCFA 1500, Northwood-approved electronic format or successor format for
professional services, Participating Supplier further agrees to provide Northwood with any additional
information reasonably necessary to evaluate the claim and/or other information regarding the services

provided.
55 Hold Harmless. Participating Supplier shall look only to Northwood for compensation
for Covered Services rendered to a Covered Person. Participating Supplier agrees that in no event shall it
bill, charge, collect or attempt to collect a deposit from, seek compensation or remuneration from,
surcharge or have any recousse against a Covered Person for Cavered Services, except that this provision
shall not prohibit collection of charges for Non-Covered Services, oo-payments or deductibles from the
Covered Person by Participating Supplier as defined in the Coordination of Benefits Section of this
Agreement. Participating Supplier agrees not to maintain any action at law or in equity against a Covered
Person to callect sums that are owed by Northwood, or its designee, to Participating Supplier under the
terms of this Agreement, even in the event Northwood, or its designee, fails to pay, becomes insolvent or
otherwise breaches the terms and conditions of this Agreement. This Section shall survive termination of
this Agreement, regardless of the cause of termination of this A and shall be constnied to be for
the benefit of Covered Persons. This Section is not intended to apply to services provided after this
Agreement has been terminated, except as otherwise provided in this Agreement, or to apply to Non-
Covered Services. Participating SuppHer agrees that this provision supersedes any oral or written
agreement, hereinafter entered into between Participating Supplier and Covered Person or persons acting
on Covered Person's behalf, insofar as such agreement relates to payment for services provided under the

terms and conditions of this Agreement.

5.6 Coordination of Benefits. Any reimbursement paid by Northweod under this Agreement
shal) not affect Northwood's right to proceed against any other insurer, co-insuyer, or other third party to
recover any payment, co-payment or other monies related to or incident to any claim for Covered
Services. Northwood shall make a good faith effort to seek reimbursement for services to Covered
Persons pursuant to the Jaw or rules of subrogation or the Plan Sponsor's Coordination of Benefits policy.
As appropriate, Participating Supplier shall fixst seek reimbussement for Covered Services under Titles

XVI, XIX, and/or V of the Social Security Act.

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VL TERM AND TERMINATION

6.1 Term and Tenmination. This Agreement is effective as of the date indicated above and
shall continue for a period of one (1) year (the “Initia] Term") and thereafter automatically renew for
successive one (1) year terms, unless otherwise terminated as provided herein ar unless either Northwood
oy Participating Supplier gives the other sixty (60) days notice of termination. Following the completion of
one (1) year of the Initial Term, either party shall have the right to terminate this Agreement without
canse upon sixty (60) days prior written notice to the other.

6.2  -Breach of Agreement. In the event that any party hereto materially breaches the terms of
ies shall notify the other party of such breach and shall give the

this Agreement, the non-breaching parti
breaching party sixty (60) days to cure such breach prior to terminating this Agreement with respect to
the breaching party, .

6.3 Effect of Termination on Provision of Services. In the event this Agreement is terminated,
Participating Supplier will not be obligated to provide services to any Covered Person past the manth for
which the Fee For Service Rate for such Covered Person will cease for the terminating Participating
Supplier, provided that, the Participating Supplier has transferred the responsibility for the ongoing care
of Covered Persons in accordance with Section 6.5 of this Northwood shall notify the
Participating Supplier when payment of the Fee for Service Rate has ceased and shall indicate that
Participating Supplier's obligations under this Agreement are no longer required.

6.4 Imutediate Termination. Either party may terminate this Agreement inunediately upon
the occarrence of any of the following events:

The other party loses or has suspended or revoked any necessary licensure, or violates
any applicable law or regulation;

The other party is denied participation in the Medicare or Medicaid program or is
terminated or suspended from the Medicare or Medicaid program.

65 Contimzed Obligations Upon Termination. In the event this Agreement is terminated,
Participating Supplier obligations shall contime only until the earlier of (i) sixty (60) days after
termination or (ii) such time as Northwood has secured an alternative Participating Supplier:

65.1 Designating Alternative Participating Supplier, Upon receiving notification from
Participating Supplier, Northwood will be respansible for designating the alternative
Participating Supplier.

65.2 ° Transfer of Records, Participating Supplier shall transfer the records of all
Covered Persons (or a copy thereof produced at Participating Supplier expense) which relate to
the provision of Covered Services to alternative Participating Suppliers, as designated by

Northwood, and the Participating Supplier shall cooperate in the transition of service including
coordination of equipment exchange to assare no interruption of service to Covered Persons.

6.5.3 Utilization and Financial Audits, Participating Supplier shal] continue to permit
Northwood or its authorized representative to conduct utilization and financial audits in

accordance with Section 4.6 of this Agreement relating to the period when this Agreement was in
effect.

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71 Independent Contractor Statuy, Northwood and Participating Supplier shall remain
separate and independent, and shall be considered to be independent cuntractors. No employee of one
party shall be considered fo be an agent, employee, servant or other representative of the other party
because of the terms of this Agreement. Nothing in this Agreement shall be constraed to confer upon
Northwood any control over the business of Participating Supplier in furnishing equipment and services
to any Covered Person, except as set forth in this Agreement.

7.2 Additional Northwood Programs, Participating Supplier agrees to participate in new or

additional Northwood programs and benefits when instituted in accordance with the folowing
dure:

poe _ 7.21 Notification, Northwood may designate new or additional Northwood programs

or benefits by notifying Participating Supplier in writing at least thirty (30) days prior to the

implementation of such new or additional programs or benefits. Such notification shall include a

description of the types of services covered by such programs or benefits and any applicable

compensation schedules, Notification shall be in the form of an amendment and must be signed
and retuned to Northwood by the Participating Supplier within the time frame identified on the
notification in order to become effective. Participating Supplier shall be deemed to have agreed
to participate in such new or additional programs ar benefits pursuant to the terms of this
Agreement, this Agreement shall be deemed amended in such respect, and all new Covered
Services descriptions and fee schedules shall be annexed to and made a part of Exhibit A and
Exhibit B, respectively, of this Agreement. Should Participating Supplier provide Northwood
with timely notice of its desire not to participate in such new or additional programs or benefits,
Participating Supplier shall have no obligation to participate and this Agreement shall otherwise ~
continue in effect,

72 Entire Agreement. This Agreement and the documents referenced here represent the
entire agreement of the parties concerning the subject matter of this Agreement which supersedes all
prior written or oral agreements on this subject matter. Except as provided in paragraphs 7.2 and 7.4, no
part of this Agreement, including this paragraph, may be amended or supplemented except by an
instrument in writing signed by both Northwood and Participating Supplier,

74 Amendment. Notwithstanding anything in this Agreement to the contrary, Northwood
or Participating Supplier may amend this Agreentent if necessary in order to comply with applicable
federal ar state laws, regulations or guidelines. Such amendments shall be effective fourteen (14) daya

_after written notification to Northwood or Participating Supplier and Northwood or Participating
Supplier shall be deemed to have agreed to such amendment unless Northwood or Participating Supplier
provides written notice to Northwood or Participating Supplier to the contrary within seven (7) days of
Northwoods or Participating Supplier's receipt of notice of the amendment. If Northwood and
Participating Supplier are unable to agree to the proposed amendment, either may terminate this
Agreement immediately.

7.5 Invalid Provision. If any one or more of the provisions contained m this Agreement
should be invalid, illegal, or unenforceable in any respect, the validity, legality and enforceability of the
remaining provisions shall not be in any way affected.

7.6 Governing Law, This Agreement shall be construed in accordance with the laws of the
State of Michigan,

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77 Notice. Any communication or notice under this Agreement shal] be made in writing by
receipted personal delivery or by certified mail, return receipt requested, prepaid, as follows:
To Northwood: To Participating Specialty Supplier:
Northwood, Inc.
7277 Bernice
Center Line, Michigan 48015

7.8 Assignment. Neither Northwood nor Participating Supplier shall assign, sell or otherwise
transfer its interest in or obligations under this Agreement without the prior written consent of the other,

 

 

79 Indemnification. Participating Supplier agrees to defend, indemnify, and hold harmless
Northwood, its officers, agents, and employees of and from any and all claims, lawsuits, losses, suits,
liabilities, and costs arising from Participating Supplier's failure, through negligence, Intentional actions
or clear error, to perform any of its duties hereunder, including, without limitation, all costs (including
actual attorneys fees) of Northwood incurred in defending any such claim. Northwood agrees to defend,
indemnify and hold harmless Participating Supplier, its officers, agents and.employees of and from any

' and all claims, lawsuits, losses, suits, Habilities and costs arising from Northwood's failure, through
negligence, intentional actions or clear error, to perform any of its duties hereunder, including, without
limitations, oJ) costs (including actual attorneys fees) of Participating Supplier incurred in defending any

such claim. Northwood and Participating Supplier shall make its best efforts to mitigate damages and

minimize Jega] expenses.

7.30 No Third Party Rights. Nothing in this Agreement shall be deemed to create any rights
in any person or entity not a signatory to this Agreement as a third-party beneficiary or otherwise.

711 Waiver. No waiver of any terms of this Agreement, at any. time, shall constitute a waiver :
of the same term ata later time. No failure to assert any remedy upon a breach under this Agreement at
any time shall prohibit any party from asserting all of its rights and remedies in the event of a subsequent

breach of the same, similar or different character.

712 Remedies. Each of the remedies provided for in this Agreement shall be cumulative, and
none shall be exclusive of any other remedies provided under this Agreement.

IN WITNESS WHEREOF, the undersigned have executed this Agreement on the day and year first above
written,

 

 

 

 

 

 

 

 

 

 

 

WITNESSES: NORTHWOOD, INC.
By:
its; Its: Kenneth G. Fasse
Date: Date:
PARTICIPATING SUPPLIER
by: Cliniea | Lond So! uh oms, 64a
its: tts: Ecce ph Lemme
Date: Date: 130 -1S
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EXHIBIT A

The standard set of covered services for Plan Sponsors typically includes home care products and services
covered by the Federal Medicare Program. Specific information and details concerning covered services
shal] be provided through Northwood to Participating Suppliers per each Plan Sponsor.

Covered Services may vary from Plan to Plan, Orders placed with Northwood's Home Management Plas
Program will be verified with the Plan unless otherwise indicated on a Northwood authorization/ referral
which is forwarded to the Participating Supplier. Coverage determination for orders placed directly with
the Provider should be obtained by contacting Northwood,

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Northwood
BUSINESS ASSOCIATE AGREEMENT

This Business Associate Agreement (“Agreement”), effective “OU AWS
(‘Effective Date”), is entered into by and between Northwood, Inc. and

Clinica) Uound Splusiassiness Associate),

Definitions
(a) Business Associate. "Business Associate” shall mean [Insert Name of Business
Associate].

(b) Individual, "Individual" shall mean the same as "individual® in 45 CFR 164,501 and
shall include a person who qualifies as a personal representative in accordance with

45 CFR 164,502(g}.
(c) Privacy Rule. “Privacy Rule" shall mean the Standards for Privacy of Individually
Identifiable Health Information at 45 CFR part 160 and part 164, subparts A and E.

(d) Protected Health Information (PHI). "Protected Health Information” shall mean the
same as “protected health information" in 45 CFR 164.50], limited to the
information created or received by Business Associate from or on behalf of

Northwood, Inc.
Required By Law. "Required By Law" shal] mean the same as “required by law" in
45 CFR 164.501.

(f) Secretary. "Secretary" shall mean the Secretary of the Department of Health and
Human Services (DHHS) or his designee.

(e)

Obligations and Activities of Business Associate
(a) Permitted Uses and Disclosures: Business Associate shall not use or disclose PHI other
than as permitted or required by the Agreement or as Required By Law.

(b) Safeguards: Business Associate shall. use appropriate safeguards to prevent use or
disclosure of the PH] other than as provided for by this Agreement.

' (c) Mitigation: Business Associate shall mitigate, to the extent practicable, any harmful effect
that is known to Business Associate of a use or disclosure of PHI by Business Associate in

Violation of the requirements of this Agreement.
(d) Report Procedure: Business Associate shall report to Northwood, Inc, of any use or
disclosure of the PHI not provided for by this Agreement of which it becomes aware.

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‘(e) Agents: Business Associate shall ensure that any agent, inchiding subcontractars, to

whom it provides PHI received from (or created or received by Business Associate on behalf

of) Northwood, Inc. agrees to the same restrictions and conditions that apply through this
Agreement to Business Associate with respect to the PHI.

(f) Access to Information: Business Associate shall provide access to, provide copies of
accounts of PHI disclosures according to HIPAA regulations to Northwood, Inc. or an

individual as directed by Northwood, Inc., as and when requested for.
(g) Amendments: Business Associate shall amend PHI that Noithwood, Inc. directs to or
agrees to according to HIPAA regulations,

(h) Availability: Business Associate shall make internal practices, books, records, policies
and procedures and PHI, related to use and disclosure of PHI received from (or created or
received by Business Associate on behalf of) Northwood, Inc, available to Northwood, Inc.
or to the Secretary for HIPAA compliance determination purposes.

(i) Accounting of disclosures: Business Associate shal! document disclosures of PHI and
information related to disclosures as required by Northwood, Inc. to respond to a request for
an accounting of disclosures according to the HIPAA regulations,

Permitted Uses and Disclosures by Business Associate

Except as otherwise limited in this Agreement, Business Associate may use or disclose PH]
to perform functions, activities, or services for, or on behalf of, Northwood, Inc, provided
that such use of disclosure would not violate the HIPAA Privacy regulations.

Obligations of Northwood, Inc.

(a) Northwood, Inc, shal} notify Business Associate of any changes in, or revocation of,
permission by Individual to use or disclose PHI, to the extent that such changes may

affect Business Associate's use or disclosure of PHL

(b) Northwood, Inc. shall notify Business Associate of any restriction by the individual to
use or disclosure of PHI, to the extent that such restriction may affect Business

Associate's use or disclosure of PHL
Permissible Requests by Northwood, Inc.

Northwood, Inc. shal] not request Business Associate to use or disclose PHI in any manner
that would not be permissible under the Privacy Rule.

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Term and Termination
(a) Term. The Term of this Agreement shal] be effective as of April 14%, 2003 and shall

terminate when all of the PHI provided by Northwood, Inc. to Business Associate, or created
or received by Business Associate on behalf of Northwood, Inc., is destroyed or returned to

Northwood, Inc., or the protections are extended to such information, in accordance with the
termination provisions in this Section.
(b) Termination for Cause. Upon Northwood, Inc. knowledge of a material breach by

Business Associate, Northwood, Inc. shall provide an opportunity for Business Associate to
cure the breach or end the violation and terminate this Agreement and any other agreements,

(c) Effect of Termination. Except as provided in following paragraph of this section, upon
termination of this Agreement, for any reason, Business Associate shall return cr destroy all
PHI received from Northwood, Inc., or created or received by Busmmess Associate on behalf
of Northwood, Inc. This provision shall apply to PHI that is m the possession of
subcontractors or agents of Business Associate. Business Associate shal] retain no copies of
the PHI.

In the event that Business Associate determines that returnmg or destroymg the PHI is
infeasible, Business Associate shall provide to Northwood, Inc. notification of the conditions

that make return or destruction infeasible.

Other Terms
(a) Regulatory References. A reference in this Agreement to a section in the Privacy Rule
means the section as in effect or as amended.

(b) Amendment. The Parties agree to take such action as is necessary to amend this

Agreement from time to time as is necessary for Northwood, Inc. to comply with the
requirements of the Privacy Rule and the Health Insurance Portability and Accountability Act

of 1996.

(c) Survival. The respective rights and obligations of Business Associate under “Effect of
Termination” shall survive the termination of this Agreement.

(d) Interpretation. Any ambiguity in this Agreement shall be resolved to permit Northwood,

Inc. to comply with the Privacy Rule.
Intending to be legally bound, the entities hereto have caused this Agreement to be executed ©

by their duly authorized representatives.

 

 

 

 

 

BUSINESS ASSOCIATE ~ NORTHWOOD, INC.
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wamer Erte Py Lane Name: __ Kenneth G. Fasse
Title: Exeause Uta‘ Resident Title: President
Date: "7-30-15 - Date:
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Page 3 of 3

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ATTACHMENT #1
SUBCONTRACTOR AFFILIATION ACKNOWLEDGMENT .

NORTHWOOD, INC.’s
SECURITY HEALTH PLAN OF WISCONSIN, INC.
VENDOR AFFILIATION AGREEMENT

This Acknowledgement is effective as of the Ist day of July, 2015 (“Bilicctive and ”
among Security Health Plan of Whiennsln, Inc. , oo Ine. Wendos) and B
q nd Solntions, LLC (Subcontractor), a qual sopplior of durable medical oe
prosthetics, 01 thotics and medical supplies (DIMEPOS), I

WHEREAS, SHP, a nonprofit service insurance corporation aud health maintenance
onpnization Licensed by the State of Wisconsin, wishes to secure the ongoing availability of f
Covered Services to its Members and to ensure ongoing compliance with applicable regulatory :
and certi on provisions.

WHERBAS, Vendor has entered into a SHP Vendor Affillation Agreement (Agreement)
fo provide Cera Senena ta specibeally defined ia the Agrocaet, 19 SD" cavollocs
(“Members”); and

WHEREAS, Subcontractor is a bospltal, institution, facility, group ar individual

oner which has entered into a Participating Supper Agreement (“Subcontract”) with

endor to provide durable medical equipment, prosthetic, orthotic and medical supplies
(DMEPOS) and services to SHP Members; and

NOW, THEREFORE, the parties agree us follows:

A, Term of Acknowledgment - This Acknowledgment shall ron concurrently with
Vendor's SHP Utilization Management Agreement. Upon the effective date of this
Acknowledgment, any previously existing direct contract between Subcontractor and
SHP for the provision of Covered Services shall be suspended during the term of the

Acknowledgment ex ag invalidated
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B, Payment ~ Subcontractor and agrees that it will be paid by Vendor for
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including but not limited to nonpayment, insolvency or breach of the
charge, collect a deposit from, seek payment from, maintain any action at law or in
or have any other recourse @ Member or person (other than Vendar or A.
acting on behalf of Membet Covered Services pro’ pursuant to the

and This provision does not hihit Subcontractor fram collecting charges
for supplemental ts or Copaymenits/Coinsurance or Deductibles, where appropriate,

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c) Specification that the delegate’s performance is monitored by SHP on an
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Section 9,3 ofthe Agreement. my

b) Automatic Terminotien — This &cknow Ipdgemast | stall terrainate
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SUCORITY HEALTH PLAN OF NORTH 00, INC

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EXHIBIT B
Case 3:20-cv-13356-RHC-CIl ECF No. 1, PagelD.34 Filed 12/23/20 Page 34 of 52

Clinical Wound Solutions, LLC

1084 Industrial Drive, Unit
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Sincerely,
Clinical Wound Solutions, LLC

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To Whom This May Concern:

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Sincerely,
Clinical Wound Solutions, LLC

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Bensenville IL 60106
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Case 3:20-cv-13356-RHC-Cl ECF No.1, PagelD.40 Filed 12/23/20 Page 40 of 52
Clinical Wound Solutions, LLC

4084 industrial Drive, Unit &
Bensenville IL 60106

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~ Billing Questions Monday - Friday

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Case 3:20-cv-13356-RHC-CI ECF No. 1, PagelD.41 Filed 12/23/20 Page 41 of 52

Glinical Wound Solutions, LLG

1084 Inclustrial Drive, Unit S

 

 

   

 

  

 

Bensenville IL 60106 Oct 29, 2020
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https://cwsmeds hmebilipay.com 40538 08/27/2018 $343.20
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To avoid further collection activily, please ensure that payment is received al the acldress below within 10 days of the date of this letter.
Thank you for allowing us to be of service {o you,

Sincerely,
Clinical Wound Solutions, LLC

 

» Billing Questions Monday - Friday

(866) 964-6837 ee eo pn

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Glinical Wound Solutions, LLC
1084 Industrial Drive, Unit 5
Bensenville iL 60106

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Case 3:20-cv-13356-RHC-CIl ECF No. 1, PagelD.43 Filed 12/23/20 Page 43 of 52
Glinical Wound Solutions, LLC

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Bensenville IL. 60106 OM Ee

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Clinical Wound Solutions, LLC

1084 Industrial Drive, Unit 5

Bensenville IL 60106

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Case 3:20-cv-13356-RHC-Cl ECF No.1, PagelD.45 Filed.12/23/20 Page 45 of 52

   

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5 a concern with the charges, please call is so we can assist you.

   

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Bensenville [L 60706
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Case 3:20-cv-13356-RHC-Cl ECF No. 1, PagelD.46 Filed 12/23/20 Page 46 of 52

Clinical Wound Solutions, LLG

{084 industrial Drive, Unit &
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Oct 29, 2020

 

 

Past Due Summary

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Thank you for allowing us to be of service to you.

Sincerely,
Clinical Wound Solutions, LLC

 

“> Billing Questions Monday - Friday Pay online at:
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PO Box 1209 Dept #

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Mail Payment to

Clinical Wound Solutions, LLC
1084 Industrial Drive, Unit 5
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Case 3:20-cv-13356-RHC-CIl ECF No. 1, PagelD.47 Filed 12/23/20 Page 47 of 52

   

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Please send payment immediately. If there is a concern with your account, please contact us al (866) 904-6937, Thank yau for allowing

us to be of service to you.

Sincerely,
Clinioal Wound Solutians, LLC

Pay online at:

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Case 3:20-cv-13356-RHC-Cl ECF No. 1, PagelD.48 Filed 12/23/20 Page 48 of 52

Clinical Wound Solutions, LLG

1084 Industrial Drive, Unit &
Bensenville IL GO106 Dec 03, 2020

 

 

 

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It is your responsibility lo contact us within 10 days of this letter te prevent your account from being forwarded to an attorney or
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Sincerely,
Ctinical Wound Solutions, LLC

   

Billing Questions Monday - Friday

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Case 3:20-cv-13356-RHC-CIl ECF No. 1, PagelD.49 Filed 12/23/20 Page 49 of 52
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Clinical Wound Solutions, LLG

1084 Industrial Drive, Unit 5
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Billing Questions Monday - Friday

 
    

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Mail Payment to:

Clinical Wound Solutions, LLC

1084 Industrial Drive, Unit 5

Bensenville IL 60106

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Case 3:20-cv-13356-RHC-Cl ECF No.1, PagelD.50 Filed 12/23/20 Page 50 of 52

 

 

 

 

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Case 3:20-cv-13356-RHC-Cl ECF No.1, PagelD.52 Filed 12/23/20 Page 52 of 52

CERTIFICATE OF SERVICE

I hereby certify that on December 23, 2020, I electronically filed the foregoing COMPLAINT
with the Clerk of the Court using the ECF system which will send notification to all counsel of
appearance.

Additionally, I certify that a copy of the foregoing documents was submitted First Class mail to
the following:

Clinical Wound Solutions, LLC

1084 Industrial Dr, Bensenville, IL 60106

/s/ Lb, a, A pe

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